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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9          SUSAN PASKOWITZ, individually                      CASE NO. C17-0992-JCC
            and on behalf of all others similarly
10          situated,                                          MINUTE ORDER
11
                                Plaintiff,
12                   v.

13          RIGHTSIDE GROUP, LTD., et al.,
14                              Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          The parties have filed a stipulation and proposed order of dismissal (Dkt. No. 8).
19   Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), this stipulation is self-executing.
20   Accordingly, all claims asserted by Plaintiff are DISMISSED with prejudice and without an
21   award of costs or attorney fees to either party. The putative class claims are DISMISSED without
22   prejudice.
23          The Court shall retain jurisdiction of this action for the purpose of determining Plaintiffs’
24   anticipated fee application. This stipulation is without prejudice to any right, position, claim, or
25   defense any party may assert with respect to the fee application. If the parties are unable to reach
26   an agreement concerning the fee application, Plaintiff may file a motion seeking an award of a


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 1   mootness fee. If the parties reach an agreement regarding the fee application, they will notify the

 2   Court and request that this action be closed.

 3          DATED this 14th day of August 2017.

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                                                            William M. McCool
 5                                                          Clerk of Court
 6                                                          s/Paula McNabb
 7                                                          Deputy Clerk

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